   Case: 1:24-cv-01174 Document #: 57-1 Filed: 11/07/24 Page 1 of 4 PageID #:912




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


ROADGET BUSINESS PTE. LTD., a private
limited company organized in the country of
Singapore,                                         Case No.: 1:24-cv-01174

                           Plaintiff,

      vs.                                          Judge: Hon. Sunil R. Harjani

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A
TO THE COMPLAINT,

                           Defendants



EXHIBIT A TO PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT AND DEFAULT

                                        JUDGMENT




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           Defendant                                   Defendant Online             Design
No.                           Store ID                                                                  Product Link(s)
           Seller                                      Marketplace                  Infringed
      1.   Y Fashion          Settlement agreement reached. Awaiting fulfillment of settlement terms.

                                                                                                        https://www.temu.com/goods.htm
                                                                                                        l?_bg_fs=1&goods_id=60109952
                                                                                    VA 2-380-271        4346715

                                                       https://www.temu.com/ou
           LOVE                                                                                         https://www.temu.com/goods.htm
                              2643617707509            nifashion-m-
           APHRODITE                                                                                    l?_bg_fs=1&goods_id=60109952
                                                       2643617707509.html
                                                                                    VA 2-380-268        9801469

                                                                                                        https://www.temu.com/goods.htm
      2.                                                                            VA 2-389-996        l?goods_id=601099530841272

                                                       https://www.temu.com/fas                         https://www.temu.com/goods.htm
           Fashion Stardust   634418212746741          hion-stardust-m-                                 l?_bg_fs=1&goods_id=60109953
      3.                                               634418212746741.html         VA 2-376-318        9557022

                                                       https://www.temu.com/cio                         https://www.temu.com/goods.htm
           CIothesBeIIe       634418210760827          thesbeiie-m-                                     l?_bg_fs=1&goods_id=60109952
      4.                                               634418210760827.html     VA 2-376-325            3563472

      5.   A Seasons          Settlement agreement reached. Voluntary Dismissal filed (ECF No. 56).




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           Defendant                                 Defendant Online           Design
No.                         Store ID                                                                Product Link(s)
           Seller                                    Marketplace                Infringed
      6.   Sexy Candy       Settlement agreement reached. Voluntary Dismissal filed (ECF No. 56).

      7.   Baris            Settlement agreement reached. Voluntary Dismissal filed (ECF No. 56).

                                                                                                    https://www.temu.com/3pcs-plus-
                                                     https://www.temu.com/ou                        size-lightning-print-bikini-set-
           Plump Swimsuit   260652791332             nifashion-m-                                   with-skirt-cover-ups-womens-
                                                     260652791332.html                              plus-sexy-high-stretch-bikini-set-
      8.                                                                        VA 2-380-261        3pcs-g-601099512246441.html

      9.   JTLOVEJEAN       Settlement agreement reached. Voluntary Dismissal filed (ECF No. 56).

      10. JTZAFUL           Settlement agreement reached. Voluntary Dismissal filed (ECF No. 56).

      11. HongC             Settlement agreement reached. Voluntary Dismissal filed (ECF No. 56).

                                                                                                    https://www.temu.com/plus-size-
                                                                                                    kawaii-bikini-set-womens-plus-
                                                                                                    mushroom-print-bikini-set-wrap-
                                                     https://www.temu.com/ou                        dress-cover-up-swimsuit-three-
                            5050636482475
                                                     nifashion-m-                                   piece-set-g-
      12. Dora swim                                  5050636482475.html         VA 2-378-749        601099516129039.html




                                                                 3
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            Defendant                                Defendant Online             Design
No.                         Store ID                                                                  Product Link(s)
            Seller                                   Marketplace                  Infringed
      13. Ling Wen Dress    Settlement agreement reached. Awaiting fulfillment of settlement terms.

                                                                                                      https://www.temu.com/contrast-
                                                     https://www.temu.com/ou                          trim-pleated-blouse-versatile-
            SZFS            634418211329907          nifashion-m-                                     petal-sleeve-keyhole-blouse-for-
                                                     634418211329907.html                             spring-summer-womens-clothing-
      14.                                                                         VA 2-380-264        g-601099527997912.html

                                                                                                      https://www.temu.com/plus-size-
                                                     https://www.temu.com/ou                          sexy-bikini-bottoms-womens-
            jiuwang         4925860754795            nifashion-m-                                     plus-plain-drawstring-high-
                                                     4925860754795.html                               stretch-bikini-bottoms-g-
      15.                                                                         VA 2-380-262        601099515460371.html




                                                                  4
